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Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                The Phoenix Rises, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  934 East 51st Street
                                  Brooklyn, NY 11203
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Kings                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    The Phoenix Rises, LLC                                                                     Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
                                          Chapter 11. Check all that apply:

                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                Case number
                                                 District                                 When                                Case number


10. Are any bankruptcy cases
    pending or being filed by a
                                        No
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                   Relationship
                                                 District                                 When                            Case number, if known




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Debtor   The Phoenix Rises, LLC                                                                  Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                    5001-10,000                               50,001-100,000
                                 50-99
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




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Debtor    The Phoenix Rises, LLC                                                                   Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 19, 2018
                                                  MM / DD / YYYY


                             X   /s/ Mark Bobb                                                            Mark Bobb
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Managing Member




18. Signature of attorney    X   /s/ A. MITCHELL GREENE                                                    Date April 19, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 A. MITCHELL GREENE
                                 Printed name

                                 ROBINSON BROG LEINWAND GREENE GENOVESE & GLUCK P.C.
                                 Firm name

                                 875 THIRD AVENUE
                                 New York, NY 10022
                                 Number, Street, City, State & ZIP Code


                                 Contact phone                                   Email address



                                 Bar number and State




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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------X

In re:                                                             Chapter 11

THE PHOENIX RISES, LLC,                                            Case No.:

                                    Debtor.
---------------------------------------------------------X

                       AFFIRMATION PURSUANT TO LOCAL RULE 1007-2

         Mark Bobb, affirms as follows:

          1.        I am the managing member of The Phoenix Rises, LLC (the “Debtor”), and am

fully familiar with the facts set forth herein.

         2.         The Debtor owns the real property and improvements located at 934 E. 51st Street,

Brooklyn, New York (the “Property”).

          3.        No pre-petition committee was organized prior to the Order for relief.

          4.        The Secured Creditors of the Debtor are as listed on Schedule D to the Petition.

          5.        A summary of the Debtor's assets and liabilities is set forth on the summary of

schedules annexed to the petition.

          6.        The names and addresses of the twenty largest unsecured creditors, excluding

insiders, appears on Schedule “A” to this affidavit.

          7.        All suits or proceedings in which the Debtor is named as a party are listed in the

Debtor’s Statement of Financial Affairs.




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 8.   The Debtor has filed a petition for relief to stay the auction sale of the Property.


                                      THE PHOENIX RISES, LLC

                                      By: /s/ Mark Bobb
                                      MARK BOBB
                                      MANAGING MEMBER




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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------X

In re:                                                             Chapter 11

THE PHOENIX RISES, LLC,                                            Case No.:

                                    Debtor.
---------------------------------------------------------X

                                 CERTIFICATION OF RESOLUTION

         I, the undersigned, Mark Bobb, as managing member of The Phoenix Rises, LLC (the

“Company”), do hereby certify that at a meeting of the Company duly called and held on April

19, 2018, the following resolutions were adopted and recorded in the Minute Book of the

Company, and they have not been modified or rescinded, and are still in full force and effect:

                            “RESOLVED, that in the judgment of the Company it is
                    desirable and in the best interest of the Company, its creditors,
                    partners and other interested parties, that a petition be filed by the
                    Company for relief under Chapter 11 of title 11 of the United
                    States Code (the “Bankruptcy Code”); and it is further

                            “RESOLVED, that the form of petition under Chapter 11
                    presented to this meeting is approved and adopted in all respects,
                    and that Mark Bobb, as managing member of the Company, is
                    authorized to execute and verify a petition substantially in such
                    form and to cause the same to be filed with the United States
                    Bankruptcy Court for the Eastern District of New York at such
                    time as he shall determine; and it is further

                            “RESOLVED, that Mark Bobb, as managing member of
                    the Company, is authorized to execute and file all petitions,
                    reorganization schedules, lists and other papers and to take any and
                    all other actions which he may deem necessary or proper in
                    connection with such Chapter 11 case, and, in that connection, that
                    the firm of Robinson Brog Leinwand Greene Genovese & Gluck
                    P.C. be retained and employed as legal counsel for the Company
                    under a general retainer, in addition to such special counsel as may
                    hereafter become necessary or proper with a view to the successful
                    conclusion of such Chapter 11 case.”



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       IN WITNESS WHEREOF, I have hereunto set my hand and seal of the Company this

19th day of April, 2018.


                                THE PHOENIX RISES, LLC

                                By: /s/ Mark Bobb
                                MARK BOBB
                                MANAGING MEMBER




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                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In re      The Phoenix Rises, LLC                                                                       Case No.
                                                                                    Debtor(s)            Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


        The above named debtor(s) or attorney for the debtor(s) hereby verify that the attached matrix (list of
creditors) is true and correct to the best of their knowledge.




 Date:       April 19, 2018                                              /s/ Mark Bobb
                                                                         Mark Bobb/Managing Member
                                                                         Signer/Title

 Date: April 19, 2018                                                    /s/ A. MITCHELL GREENE
                                                                         Signature of Attorney
                                                                         A. MITCHELL GREENE
                                                                         ROBINSON BROG LEINWAND GREENE GENOVESE & GLUCK
                                                                         P.C.
                                                                         875 THIRD AVENUE
                                                                         New York, NY 10022




USBC-44                                                                                                                        Rev. 9/17/98


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                   Bank of New York
                   101 Barclay Street
                   New York, NY 10286


                   CORP. COUNSEL FOR NYC
                   100 CHURCH STREET
                   New York, NY 10007


                   INTERNAL REVENUE SERVICE
                   PO BOX 7346
                   Philadelphia, PA 19101-7346


                   Law Off. of F.J. Haupel
                   800 Westchester Ave.
                   Suite N-307
                   Port Chester, NY 10573


                   National Loan Investors
                   5619 N. Classen
                   Oklahoma City, OK 73118


                   NEW YORK STATE DEPT. OF F
                   ATTN: BANKRUPTCY SPECIAL
                   PO BOX 5300
                   Albany, NY 12205


                   NYC DEPT. OF FINANCE
                   345 ADAMS STREET, 3RD FL.
                   ATTN: LEGAL AFFAIRS
                   Brooklyn, NY 11201


                   OFFICE OF THE ATTY GEN
                   28 Liberty St.
                   New York, NY 10005


                   Reimer & Braunstein LLP
                   Seven Times Square
                   Times Square Tower,
                   Suite 2506
                   New York, NY 10036


                   Small Business Admin.
                   333 North Canyons Parkway
                   Suite 100
                   Livermore, CA 94551
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               U.S. SBA
               c/o US ATTY OFFICE - EDNY
               271-A CADMAN PLAZA EAST
               ATTN: Beth Schwartz
               Brooklyn, NY 11201


               US ATTY OFFICE - EDNY
               BANKRUPTCY PROCESSING
               271-A CADMAN PLAZA EAST
               ATTN: ARTEMIS LEKAKIS
               Brooklyn, NY 11201
